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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA

ANGIE BROWN STONE,
and GWENDOLYN CHISOLM.

Plaintiffs,

vs.

TIG7 PUBLISHING, LLC,

a Georgia Corporation,

NICHOLAUS WILLIAMS, anindividual,

p/k/a TRINIDAD JAMES,

SONY MUSIC ENTERTAINMENT,

A Delaware Corporation,
WARNER/CHAPPELL MUSIC,

a Delaware Corporation, RCA RECORDS, INC.,
a Delaware Corporation,

ATLANTIC RECORDING

CORPORATIONS, a Delaware Corporation,
MARK DANIEL RONSON p/k/a MARK RONSO
an individual, PETER GENE HERNANDEZ,
p/k/a BRUNO MARS. an individual,
JAMAREO ARTIS, an individual, p/k/a JAM,
JEFF BHASKER, an individual,

PHILIP LAWRENCE, an individual,

ARI LEVINE, an individual,
CHRISTOPHER GALLASPY, an individual,
LAWRENCE “BOO” MITCHELL, an individual, )
WAY ABOVE MUSIC, MARS FORCE MUSIC, LP)
a California limited partnership,

THOU ART THE HUNGER,

a California Corporation,

WB MUSIC CORP, a Delaware Corporation,
WINDSWEPT HOLDINGS LLC,

a California limited liability company,
UNIVERSAL MUSIC CORPORATION,

a Delaware Corporation, IMAGEMMUSIC, INC,
a Delaware corporation, ZZR MUSIC, LLC,

a California corporation, and DOES 1-30,
INCLUSIVE Defendants

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CASE NO:

COMPLAINT FOR DAMAGES
1. COPYRIGHT
INFRINGEMENT
2. DECLATORY AND
INJUNCTIVE RELIEF
3. ACCOUNTING
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COMPLAINT FOR DAMAGES
Plaintiffs ANGIE BROWN STONE, and GWENDOLYN CHISOLM, (collectively “The

Sequence”) by and through undersigned counsel, now files this complaint against Defendants
SONY MUSIC ENTERTAINMENT, A Delaware Corporation, WARNER/CHAPPELL MUSIC,
a Delaware Corporation, RCA RECORDS, INC., a Delaware Corporation, ATLANTIC
RECORDING CORPORATIONS, a Delaware Corporation, MARK DANIEL RONSON p/k/a
MARK RONSON, an individual, PETER GENE HERNANDEZ, p/k/a BRUNO MARS, an in-
dividual, JAMAREO ARTIS, an individual, p/k/a JAM, JEFF BHASKER, an individual, PHILIP
LAWRENCE, an individual, ARI LEVINE, an individual, NICHOLAUS WILLIAMS, anindi-
vidual p/k/a TRINIDAD JAMES, CHRISTOPHER GALLASPY, an individual, LAWRENCE
“BOO” MITCHELL, an individual, WAY ABOVE MUSIC, MARS FORCE MUSIC, LP, a Cali-
fornia limited partnership, THOU ART THE HUNGER, a California Corporation, WB MUSIC
CORP, a Delaware Corporation, WINDSWEPT HOLDINGS LLC, a California limited liability
company, UNIVERSAL MUSIC CORPORATION, a Delaware Corporation, IMAGEMMUSIC,
INC, a Delaware corporation, ZZR MUSIC, LLC, a California corporation, TIG7 PUBLISHING,
LLC, a Georgia Corporation, and DOES 1-30,INCLUSIVE, (Hereinafter “Defendants,” collec-
tively), hereby allege as follows:
L NATURE OF ACTION

1. The Sequence was the first female hip hop trio signed to Sugar Hill Records and

known for the nationwide hit song “Funk You Up” which was the third rap song ever to reach

Billboard’s Top 50 singles.
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6. The Sequence owns the rights to the master recording and the musical composition of
“Funk You Up” and the appropriate copyright registrations have been duly filed with United
States Copyright Office. Exhibit A.

Il. THE PARTIES

7. Plaintiff ANGIE BROWN STONE is an individual, former group member of The Se-
quence and co-author of the Copyrighted Works “Funk You Up” who residesin Atlanta, Georgia.

8. Plaintiff GWENDOLYN CHISOLM is an individual, former group member of The Se-
quence and co-author of the Copyrighted Works “Funk You Up” who residesin Atlanta, Georgia.

9. On information and belief, Defendant NICHOLAUS WILLIAMS p/k/a TRINIDAD
JAMES is an individual whom resides in the State of Georgia involved in theinfringement which
took place in Atlanta, Geowa

10. On information and belief, Defendant TIG7 PUBLISHING, LLC is a Georgia limited
liability company, engaged in systematic and continuousbusiness in the State of Georgia that is
involved in the infringement and/orbenefits therefrom or continues to perpetuate the infringe-
ment, which also took place in Adana, Georgia in whole or in part. The registered agent is located
at 5665 New Northside Dr, Suite 110, Fulton, Atlanta, GA, 30328, USA.

11. On information and belief, Defendant SONY MUSIC ENTERTAINMENT is a corpo-
ration engaged in systematic and continuous business in the State of Georgia that is involved in
the infringementand/or benefits therefrom or continues to perpetuate the infringement, which
alsotook place in Atlanta, Georgia in whole or in part.

12. On information and belief, Defendant WARNER/CHAPPELL MUSIC, INC. is a cor-

poration engaged in systematic and continuous businessin the State of Georgia that is involved in
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the infringement and/or benefits therefrom or continues to perpetuate the infringement, which
also took place in Adanta, Georgia in whole or in part.

13. On information and belief, Defendant RCA RECORDS, INC. is a corporation en-
gaged in systematic and continuous business in the Stateof Georgia that is involved in the in-
fringement and/or benefits therefrom or continues to perpetuate the infringement, which also took
place in Atlanta, Georgia in whole or in part.

14. On information and belief, Defendant ATLANTIC RECORDING CORPORATIONS
is a corporation engaged in systematic and continuous business in the State of Georgia that is in-
volved in the infringement and/orbenefits therefrom or continues to perpetuate the infringement,
which also took place in Afar, Georgia in whole or in part.

15. On information and belief, Defendant RONSON is also an individual doing business
in the State of Georgia involved in the infringement whichtook place in Atlanta, Georgia.

16. On information and belief, Defendant BRUNO MARS is an individual doing business
in the State of Georgia involved in theinfringement which took place in Atlanta, Georgia

17. On information and belief, Defendant BHASKER is an individual doing business in
the State of Georgia involved in the infringement whichtook place in Atlanta, Georgia

18. On information and belief, Defendant LEVINE is an individual doing business in the
State of Georgia involved in the infringement which took placein Atlanta, Georgia.

19. On information and belief, Defendant GALLASPY is an individual doing business in

the State of Georgia involved in the infringement whichtook place in Atlanta, Georgia
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20. On information and belief, Defendant MITCHELL is an individual doing business in
the State of Georgia and Tennessee involved inthe infringement which took place in
Atlanta,Georgia.

21. On information and belief, Defendant WAY ABOVE MUSIC is a corporation doing
business in the State of Georgia involved in theinfringement which took place in Adanta, Georgia.

22. On information and belief, Defendant MARS FORCE MUSIC, LP is a limited part-
nership doing business in the State of California involved inthe infringement which took place in
Atlanta, Georgia.

23. On information and belief, Defendant THOU ART THE HUNGER is a corporation
doing business in the State of Georgia involved in theinfringement which took place in Atlanta,
Georgia

24. On information and belief, Defendant WB MUSIC CORP is a Delaware corporation
doing business in the State of Georgia involved inthe infringement which took place in Atlanta,
Georgia.

25. On information and belief, Defendant WINDSWEPT HOLDINGS LLC, a California
limited liability company, engaged in systematic and continuous business in the State of Georgia
that is involved in the infringementand/or benefits therefrom or continues to perpetuate the in-
fringement, which alsotook place in Atlanta, Georgia in whole or in part.

26. On information and belief, Defendant UNIVERSAL MUSIC CORPORATION is @
Delaware corporation engaged in systematic and continuous business in the State of Georgia that
is involved in the infringementand/or benefits therefrom or continues to perpetuate the infringe-

ment, which alsotook place in Atlanta, Georgia in whole or in part.
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Ill. JURISDICTION AND VENUE

27, The jurisdiction of this Court with respect to the copyright infringement claim is
based upon 28 U.S.C. § §1331 and 1338 (a) in that the issue arises under the Copyright Act and
the Copyright Revision Act of 1976 (17 U.S.C. 101 ef seqg.), which is within the exclusive juris-
diction of federal courts pursuant to 28 U.S.C. § 1331. This Court also has supplemental jurisdic-
tion as 28 U.S.C. Section 1367 governs disputes between citizens of different states with an
amount in controversy exceeding $75,000 exclusive of interests and costs.

28. This Court has personal jurisdiction over the Plaintiffs and the Defendants because
parties may be found, and conduct systematic and continuous business in this jurisdiction of this
Judicial District.

29. Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1400(a) because
the Plaintiffs and Defendants are subject to personal jurisdiction in this Judicial District, and De-
fendants NICHOLAUS WILLIAMS p/k/a TRINIDAD JAMES and TIG7 PUBLISHING, LLC
reside in this District and have committed unlawful acts of infringement in this Judicial District.

IV. FACTS RELEVANT TO CLAIMS
A. INFRINGEMENT OF “FUNK YOU UP” AND “APACHE (JUMP ON IT)
“FUNK YOU UP” BACKGROUND

30, Plaintiffs reiterate the allegations set forth in paragraphs 1-31 inclusive as if set forth
therein.

31. This action for copyright infringement arises from Infringing Work’s writers’ in-
fringement of the Sequence’s copyright in the master recording and the musical composition of

“Funk You Up” written, composed, and recorded by The Sequence, and released in 1979. The
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master recording and musical composition rights to “Funk You Up” have been registered with
the United States Copyright Office.

32. Plaintiffs possess a beneficial interest in the “Funk You Up” as its co-composers and,
therefore withhold sufficient standing to seek judicial relief againstcopyright infringement under
the 1976 Copyright Act. 17 U.S.C. § 501(b).

33. “Funk You Up” was recorded and released by Sequence in 1979 and became the third
rap song ever to reach Billboard Top 50 singles.

INTENTIONAL COPYING OF “FUNK YOU UP” AND SUBSTANTIAL SIMI-
LARITIES

34. The Defendants are the writers, composers, producers, record labels, and publishers
of the infringing record “Uptown Funk” as well as the visual and all other products incorporating
the Infringing Work.

35. The Defendants intentionally and unlawfully duplicated and compiled a collection of
original and significant components from the musical composition, “Funk You Up”. With this
music critics throughout the music industry have highlighted the substantial similarities of the
two works.

36. Defendant RONSON is well known for his diverse, genre-spanning selection of music
intensely molded by funk, electro-funk soul, New York hip hop, and UK rock.

37. Since Defendant RONSON is aDJ specializing in funk, with an established passion
along with a lengthy New York DJ career where The Sequence had extensive success, upon in-

formation and belief, Defendant RONSON had reasonable access to “Funk You Up” and used
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such inthe creation of the Infringing Work as demonstrated by its clear and substantial similarity
to “Funk You Up”.

38. Defendant BRUNO MARS is an American singer, songwriter, record producer, and
choreographer. Defendant BRUNO MARS is known for his funk inspired stage performances
and retro-funk style music.

39, With the enhanced technology of internet music databases/streaming services such as
Youtube, Pandora, Apple Music, Spotify, etc., Defendants RONSON and BRUNO MARS likely
were exposed to “Funk You Up” as it is one of the most successful works of the aforementionedd
genre.

40, Upon information and belief, theDefendants RONSON and BRUNO MARS had rea-
sonable access to the copyrighted work “Funk You Up” and used the work consciously or sub-
consciously in the creation of the Infringing Work as exemplified by its substantial similarities to
“Funk You Up”.

41. The subsequent prosperity of “Uptown Funk” after its releasein November 2014 was
remarkable, The title sold for at least 6 million copies. The visual for “Uptown Funk” has re-
ceived over I billion views as well as RIAA certified multi-platinum in the United States and sev-
eral other countries.

42. Since first hearing the song in June 2018, the Sequence have highlighted the substan-
tial similarities between “Funk You Up” and “Uptown Funk.”

43. Upon information and belief, “Funk You Up” and “Uptown Funk” both contain sub-

stantially similar, protectable anddefining composition elements. The substantial similarities
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found in “Funk You Up” and the Infringing Work enagadfrom attempts to simulate a “groove,”
“era,” “feel,” of music or a shared genre.

44. Upon information and belief, many of the main melodic and lyrical attributes and
themes of “Uptown Funk” are intentionally and obviously copied from “Funk You Up,” includ-
ing, but not limited to, the intro chorus of “Funk You Up” at 0:39 - 1:25 which is repeated near
the outro at 6:41 - 6:51 compared with “Uptown Funk” at 2:55 - 3:11 and 3:54 - 4:24 which con-
sists of several individual elements that were copied by Mark Ronson and Bruno Mars. More-
over, a brief examination of those excerpts will display a plethora of blatant imitations of “Funk
You Up” including but not limited to: signature phrase, melody, melody duration, musical
thythm, and musical pitch.

UNAUTHORIZED RELEASE AND EXPLOITATION OF FU NK YOU UP

45. Among the exclusive rights granted to Plaintiffs under the Copyright Act are rights for
payment and accounting of royalties for reproduction, distribution and/or exploitation of the
Copyrighted Works to the public. Atall times relevant herein, Plaintiffs were also entitled to ac-
counting and payment of mechanical royalties by any and all persons or entities that record or
otherwise exploit the Copyrighted Works.

46. Upon information or belief, all Uptown Funk Defendants are responsible in some
manner for the events described herein and are liable tothe Plaintiffs for the damages they have
incurred. Defendants Mark Ronson, BRUNO MARS, and the other Defendants named herein are
the purported writers composers, performers, producers, record labels, distributors, and publish-
ers who were involved in the creation, release, reproduction, distribution, exploitation, licensing,

and public performance of the Infringing Uptown Funk work, embodied in all forms of media,
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including videos, digital downloads, records, motion pictures and advertisements, all of which
constitute, among other things, theimproper creation of a derivative work and direct, vicarious,
and contributory infringement. As co-infringers, the Defendants and each of them are jointly and
severally liable for all amounts owed.

47. These acts of infringement were willful, knowing, malicious and committed with zero
regard to the Plaintiffs’ rights.

48. The Defendants and through their counsel and agents were given notice of the in-
fringement by a letter demanding that they cease and desist the infringement of “Funk You Up”..
Despite these communicaions, the Defendants failed to halt there unlawful activity by reproducing,
displaying, distributing, exploiting, licensing, and/or publicly performing the Infringing Work.
“Uptown Funk” continues tobe reproduced, sold, distributed publicly performed, licensed and
otherwiseexploited on compact discs and albums, and as digital downloads, ringtones, and mas-
tertones, in theatrical motion pictures, music videos and advertisements, all without payment or
producer or songwriter credit to Plaintiffs.

49. United States Copyright Office records reflect Defendants RONSON, BRUNO
MARS, LAWRENCE, GALLASPY, BHASKER, and WILLIAMS as the claimed authors of the
Infringing Work.

50. Upon information and belief, at no time did Defendants have any right to remake or
integrate any interpolations of “Funk You Up” without fairly compensating Plaintiffs.

51. Plaintiffs’ Original Composition and/or Original Sound Recording may be compared
to Defendants’ Infringing Work, and is located on the YouTube.com portal at the webpage below

listed as:
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The Sequence “Funk You Up”- https://ww»

 

Mark Ronson/Bruno Mars “Uptown Funk”- /hwweww:
y=OPMYbXqDm0

52. Therefore, the Plaintiffs have never received any producer royalties, mechanical roy-
alties or public performance royalties in connection withthe commercial exploitation of the Ong-
inal Composition and/or Original Sound Recording by Defendants or any other third parties.

53. Upon information and belief, the Defendants, made minor changes to the lyrics and
melody in an attempt to mask the infringement of the Original Composition and/or Original
Sound Recording are exceedingly similar.

54. Defendants have willfully and intentionally failed to acknowledge Plaintiffs’ copy-
right ownership interest in the Original Composition and/or Original Sound Recording.

55. Defendants have further unlawfully used, distributed and sold the Infringing Work
without receiving permission from and/orpovidngoampassiontote Plaintiffs for their use of Plain-
tiffs’ Original Composition and/or Original Sound Recording.

56, Defendants’ wrongful use of the Infringing Work and their resulting distribution and
sale of the Infringing Work, without permissionand payment to Plaintiffs for such use was and
continues to be a direct infringement of Plaintiffs’ copyrights in the Original Composition and/or
Original Sound Recording.

57, Duc to the Defendants’ acts, the Plaintiffs have incurred extensive damages.

“APACHE (JUMP ON IT)” BACKGROUND
58. This action for copyright infringement also arises from Infringing Work’s writers’ in-

fringement of the Sequence’s rights in the master recording and the musical composition of
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“Apache (Jump On It) written members of the Sequence and the Sugar Hill Gang, recorded by
The Sugar Hill Gang, and released in 1982. The master recording and musical composition rights
to “Apache (Jump On It) have been registered with the United States Copyright Office.

59. Plaintiffs possess a beneficial interest in the “Apache (Jump On It)” as its co-com-
posersand, therefore withhold sufficient standing to seek judicial relief against copyright in-
fringement under the 1976 Copyright Act. 17 U.S.C. § 501(b).

INTENTIONAL COPYING OF “APACHE (JUMP ON IT)” AND
SUBSTANTIAL SIMILARITIES

60. The Defendants are the writers, composers, producers, record labels, and publishers
of the infringing record “Uptown Funk” as well as the visual and all other products incorporating
the Infringing Work.

61. The Defendants intentionally and unlawfully duplicated and compiled a collection of
original and significant components from the musical composition, “Apache (Jump On It)”.

62. Since Defendant RONSON is a DJ specializing in funk, with an established passion
along with a lengthy New York DJ career where The Sequence had extensive success, upon in-
formation and belief, Defendant RONSON had reasonable access to “Apache Gump On It)” and
used such inthe creation of the Infringing Work as demonstrated by its clear and substantial simi-
larity to “Apache (Jump On It)”.

63. With the enhanced technology of internet music databases/streaming services such as
Youtube, Pandora, Apple Music, Spotify, etc., Defendants RONSON and BRUNO MARS likely
were exposed to “Apache (Jump On It)”” as it is one of the most successful works of the afore-

mentioned genre.
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64. Upon information and belief,theDefendants RONSON and BRUNO MARS had rea-
sonable access to the copyrighted work “Apache (Jump On It)” and used the work consciously or
sub-consciously in the creation of the Infringing Work as exemplified by its substantial similari-
ties to “Apache (Jump On It)”.

65. Since first hearing the song in May 2018, the Sequence have highlighted the substan-
tial similarities between “Apache (Jump On It)” and “Uptown Funk.”

66. Upon information and belief, “Apache (Jump On It)” and “Uptown Funk” both con-
tain substantially similar, protectable anddefining composition elements. The substantial similar-
ities found in “Funk You Up” and the Infringing Work eneged from attempts to simulate a
“groove,” “era,” “feel,” of music or a shared genre.

67. Upon information and belief, many of the main melodic and lyrical attributes and
themes of “Uptown Funk” are intentionally and obviously copied from“ Apache (Jump On It)”
including, but not limited to, the intro chorus of “Apache Jump On It)” at 0:39 - 1:00 which is
repeated throughout the song as a chorus compared with “Uptown Funk” at 3:11 - 3:24 which
consists of several individual elements that were copied by Mark Ronson and Bruno Mars.
Moreover, a brief examination of those excerpts will display a plethora of blatant imitations of
“Apache (Jump On It)” including but not limited to: signature phrase, melody, and musical
rhythm.

UNAUTHORIZED RELEASE AND EXPLOITATION OF APACHE (J UMP ON IT)

68. yan the exclusive rights granted to Plaintiffs under the Copyright Act are rights for
payment and accounting of royalties for reproduction, distribution and/or exploitation of the

Copyrighted Works to the public, Atall times relevant herein, Plaintiffs were also entitled to ac-
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counting and payment of mechanical royalties by any and all persons or entities that record or
otherwise exploit the Copynghted Works.

67. Upon information or belief, all Uptown Funk Defendants are responsible in some
manner for the events described herein and are liable tothe Plaintiffs for the damages they have
incurred. Defendants Mark Ronson, BRUNO MARS, and the other Defendants named herein are
the purported writers composers, performers, producers, record labels, distributors, and publish-
ers who were involved in the creation, release, reproduction, distribution, exploitation, licensing,
and public performance of the Infringing Uptown Funk work, embodied in all forms of media,
including videos, digital downloads, records, motion pictures and advertisements, all of which
constitute, among other things, theimproper creation of a derivative work and direct, vicarious,
and contributory infringement. As co-infringers, the Defendants and each of them are jointly and
severally liable for all amounts owed.

68. These acts of infringement were willful, knowing, malicious and committed with zero
regard to the Plaintiffs’ rights.

69. The Defendants and through their counsel and agents were given notice of the in-
fringement by a letter demanding that they cease and desist thelR infringement. Despite these
communiatins, the Defendants failed to halt there unlawful activity by reproducing, displaying, dis-
tributing, exploiting, licensing, and/or publicly performing the Infringing Work. “Uptown Funk”
continues tobe reproduced, sold, distributed publicly performed, licensed and otherwiseexploited
on compact discs and albums, and as digital downloads, ringtones, and mastertones, in theatrical
motion pictures, music videos and advertisements, all without payment or producer or songwriter

credit to Plaintiffs.
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70. United States Copyright Office records reflect Defendants RONSON, BRUNO
MARS, LAWRENCE, GALLASPY, BHASKER, and WILLIAMS as the claimed authors of the
Infringing Work.

71. Upon information and belief, at no time did Defendants have any right to remake or
integrate any interpolations of “Funk You Up” without fairly compensating Plaintiffs.

72. Plaintiffs’ Original Composition and/or Original Sound Recording may be compared
to Defendants’ Infringing Work, and is located on the YouTube.com portal at the webpage below
listed as:

Sugarhill Gang “Apache (Jump On It)’- https://www.youtube.com/watch?v=vQOb-
WW06VAM

Mark Ronson/Bruno Mars “Uptown Funk”- hitps://www.youtube.com/watch?
v=OPfOYbXqDm0

73. Therefore, the Plaintiffs have never received any producer royalties, mechanical roy-
alties or public performance royalties in connection with the commercial exploitation of the Orig-
inal Composition and/or Original Sound Recording by Defendants or any other third parties.

74. Upon information and belief, the Defendants, made minor changes to the lyrics and
melody in an attempt to mask the infringement of the Original Composition and/or Original
Sound Recording are exceedingly similar.

75. Defendants have willfully and intentionally failed to acknowledge Plaintiffs’ copy-

right ownership interest in the Original Composition and/or Original Sound Recording.
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76. Defendants have further unlawfully used, distributed and sold the Infringing Work
without receiving permission from and/orprowidngoampensiontote Plaintiffs for their use of Plain-
tiffs’ Original Composition and/or Original Sound Recording.

77. Defendants’ wrongful use of the Infringing Work and their resulting distribution and
sale of the Infringing Work, without permissionand payment to Plaintiffs for such use was and
continues to be adirect infringement of Plaintiffs’ copyrights in the Original Composition and/or
Original Sound Recording.

78. Due to the Defendants’ acts, the Plaintiffs have incurred extensive damages.

EXRST CLAIM FOR RELIEF
COPYRIGHT INFRINGEMENT

79, Plaintiffs reiterate the allegations set forth in paragraphs 1-79 inclusive as if set forth
therein.

80. The Infringing Work infringes Plaintiffs” copyright interest in the Original Composi-
tion and/or Original Sound Recording through its iegtimaemisappropriation without compensation.

81. Plaintiffs did not authorize, license or consent the use of the Original Composition
and/or Original Sound Recording in the Infringing Work by Defendants without compensation,
which constitutes an infringement of Plaintiffs’ copyright.

82. Upon information and belief, Defendants had access to Plaintiffs Original Composi-

tion and/or Original Sound Recording and intentionally and infringed the copyright.
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83, Moreover, the copying is so blatant in the signature phrase, melody, melody duration,
musical rhythm, and musical pitch the Infringing Work and Original Composition and/or Original
Sound Recording are strikingly similar rendering access presumed,

84. By including the Infringing Work on the Musical Albums, Defendants have violated
Plaintiffs’ copyright in Plaintiff's’ Original Composition and/or Original Sound Recording for the
purpose of their own financial gain.

85. Specifically, without permission or consent, Defendants dipicasd published, and dis-
tributed Plaintiffs’ Composition interpolated in theInfringing Work. In addition, Defendants
copied Plaintiffs’ Original Compositionand/or Original Sound Recording included such in the
Infringing Work.

86. Upon information and belief, Defendants have obtained fees and royalties from the
sale of the Infringing Work and an infringing album, and Defendants have retained a portion of
those fees and royalties without offering any amount to Plaintiffs.

87. Defendants’ conduct, including infringement, has continues to be, willful and know-
ing and with a reckless disregard forPlaintiffs’ rights. Therefore, the Defendants’ direct and will-
ful acts of infringemententitle Plaintiffs to recover from Defendants damages pursuant to 17
USC. § 504.

88, Accordingly, Plaintiffs are entitled to compensatory and/or statutory damages in an
amount to be determined at trial, in addition to punitive damages, interest, costs and a statutory
award of attorneys’ fees.

89. Plaintiffs do not have an adequate remedy at law for Defendants’ wrongful conduct in

that (i) Plaintiffs’ copyright is unique and valuable property which has no readily determinable
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market value; (ii) the infringement by the Defendants constitutes an interference with Plaintiffs’
goodwill andprofessional reputation; and (iii) Defendants’ wrongful conduct, and the damages
resulting to Plaintiffs therefrom, is continuing. Defendants’ use of copyright infringement has
caused Plaintiffs irreparable injury, and Defendants threaten to continue tocommit these afore-
mentioned acts.

90. By reason of the aforesaid acts of copyright infringement, Plaintiffs are allowed the
impounding and destruction of all copies or phonorecords which have been made or used in vio-
lation of the Plaintiffs’ exclusive rights, and ofall masters or other articles by means of which
such copies or phonorecords may be reproduced pursuant to the Copyright Act, 17 U.S.C. § 503.

91. By reason of the foregoing acts of copyright infringement, Plaintiffs are entitled to
actual damages including all profits earned by the Defendants asa result of their infringement
pursuant to the Copyright Act, 17 U.S.C. § 504. In addition, Plaintiffs are entitled to the maxi-
mum statutory damages pursuantto!7 U.S.C. §504(c) for each infringement. Therefore, Plaintiffs
demand an accounting to acquire such profits.

92. Pursuant to 17 U.S.C. § 505, Plaintiffs are also entitled to his costs and attorney’s
fees.

SECOND CLAIM FOR RELIEF
DECLATORY AND INJUNCTIVE RELIEF
74. Plaintiffs reiterate the allegations set forth in paragraphs 1-92 inclusive as if set forth

therein.
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93. Plaintiffs have a beneficial interest in the Original Composition and/or Original
Sound Recording making Plaintiffs owner of all right, title and interest (including copyright) in
“Funk You Up” and “Apache Jump On It).

94, A judicial declaration is necessary to determine the rights and obligations of the par-
ties.

95. Moreover, Plaintiffs seek declaratory judgment that (a) it has the exclusive nghts con-
ferred upon a copyright owner under the 1976 Copyright Act to the Original Composition and/or
Original Sound Recording, including without limitation the exclusive right to manufacture, dis-
tribute, sell and exploit the Copyrighted Works and to grant derivative work licenses therefore
including the license required for Defendants to exploit the Infringing Work, (b) none of these
Defendants have any interest in and to the Original Composition and/or Original Sound Record-
ing nor the right to exploit the Infringing Work withoutPlaintiffs’ written approval, and (c) and
that any further exploitation of the Infringing Work constitutes willful copyright infringement.

96. Plaintiffs are entitled to an injunction preventing Defendants and their agents, em-
ployees, and all other persons in active concert or privity orin participation with them, from di-
rectly or indirectly infringing on Plaintiffs’ copyright in the Composition and Musical Work or
from continuing to market, offer, sell, dispose of, license, lease, transfer, display, advertise, repro-
duce, develop, or manufacture any works derived, copied, and/or sampled from the Composition
and Musical Work, in whatever medium, or to participate or assistin any such activity.

97. Due to the aforementioned acts of copyright infringement, Plaintiffs are entitled to
declaratory relief and a permanent injunction enjoining Defendants from continuing the aforesaid

acts of infringement pursuant to the Copyright Act, 17 U.S.C. § 502.
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THIRD CLAIM FOR RELIEF
ACCOUNTING

98. Plaintiffs reiterate the allegations set forth in paragraphs 1-97 inclusive as if set forth
therein.

99. Under the causes of action as set forth herein, Plaintiffs may recover any and all prof-
its of Defendants that are traceable to their exploitation and wrongful use of the Plaintiffs’ intel-
lectual property.

100. Upon information and belief, Defendants aquired, and continueto aquire, profits
from the sale of and contracts related to the Infringing Work that disregards Plaintiffs’ copyright
interests in the Original Composition and/or Original Sound Recording.

101. Plaintiffs are entitled to a full accounting of all net profits received by Defendants in
connection with the creation, marketing, distribution and sale ofthe Infringing Composition, In-
fringing Sound Recording and Infringing Album

102. Therefore, due to the aforementioned violations of federal, state, common law, Plain-
tiffs demand that the Defendants render an accounting to ascertain the amount of such profits
which have been realized to suchviolations.

103. As a direct and proximate result of the Defendants’ uiwdiiapopmim, Plaintiffs have
been damaged, and Defendants have been unjustly enriched, in an amount to be proven at trial
for which damages and/or restitution and disgorgement are appropriate. Such damages and/or
restitution anddisgorgement should include a declaration by this Court that Defendants, and each

of them, are constructive trustees for the benefit of Plaintiffs and order that Defendants convey to
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the Plaintiffs all gross receipts and benefits received or to be received thatare attributable to the
infringement of the Original Composition and/or Original Sound Recording.
104. The exact amount of money due from Defendants is unknownto Plaintiffs, and can

only be ascertained through an accounting.

REQUEST FOR RELIEF
WHEREFORE, Plaintiffs respectfully request that this Court enter a final

judgment in their favor and as against Defendants, jointly and severally, as follows:

1. Determining that Defendants have infringed on Plaintiffs’ copyright interests in “Funk
You Up”;

2. That Defendants, and their agents, employees, and all other personsin active concert or
privity or in participation with them, be enjoined from directly or indirectly infringing on Plain-
tiffs’ copyright in the subject Copyrighted Works or from continuing to market, offer, sell, dis-
pose of, license, lease, transfer, display, advertise, reproduce, develop, or manufacture any works
derived, copied, and/or sampled from the Copyrighted Works, in whatever medium, or to partici-
pate or assist in any such activity;

3. That Defendants, and all their representatives, agents, employees, officers, directors,
partners, attomeys, subsidiaries, and all persons under their control or acting in active concert or
participation with them, be ordered to immediately post a notice on each of its websites stating

that the prior use of the subject Copyrighted Works was unauthorized:
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4. That Defendants, their affiliates and licensees, immediately ceaseand desist from any
further recording, reproduction, distribution, transmission, or other use of the Copyrighted
Works;

5. That judgment be entered in favor of Plaintiffs and against Defendants for the actual
damages suffered by Plaintiffs and for any profits attributable tothe infringements of Plaintiffs’
copyright in the Copyrighted Works, the amount of which, at present, cannot be fully ascertained;

6. That judgment be entered in favor of Plaintiffs and against Defendants for statutory
damages based on Defendants acts of infringement, pursuant to 17 U.S.C. § 504,

7. That all gains, profits, and advantages derived by Defendants from their acts of in-
fringement and other violations of law be deemed to be heldin constructive trust for the benefit
of Plaintiffs;

8. That Defendants be ordered to furnish to Plaintiffs a complete and accurate accounting
of any and all profits earned in connection with their use ofthe subject Copyrighted Works, In-
fringing Work and Infringing Album,

9, That judgment be entered in favor of Plaintiffs and against Defendants for punitive
damages for their willful disregard of Plaintiffs’ rights,

10. That judgment be entered against Defendants for Plaintiffs’ costs, disbursement and
attorneys’ fees pursuant to 17 U.S.C. §§ 101, et seq.; and

11. That the Court grant such other and further relief as this Court deems just, proper, and

equitable under the circumstances.

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This oe of May, 2018.
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Respectfully Submitted,

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